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                     UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MARYLAND
                               Greenbelt Division
____________________________________
                                    ]
In re                               ]
                                    ]
TOUFIC SALIM MELKI,                 ]      Case No. 19-15265
                                    ]      Chapter 11
                  Debtor.           ]
____________________________________]

                               NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that the undersigned hereby enters his appearance on behalf of
(1) Cynthia Melki, and (2) Gowen, Silva & Winograd, PLLC, The undersigned requests that
all documents filed herein, including, without limitation, all pleadings, motions, orders,
memoranda, amendments, exhibits, attachments, affidavits, declarations, orders (proposed or
otherwise), answers, and all other items constituting the record of this case be served upon
Cynthia Melki and/or Gowen, Silva & Winograd, PLLC, by and through:


                       Jeffrey M. Sherman
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Date: April 24, 2019                        Respectfully submitted,

                                            /S/ Jeffrey M. Sherman
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                                                   and Gowen, Silva & Winograd, PLLC



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                                           CERTIFICATE OF SERVICE

         I hereby certify that on April 24, 2019, I served a copy of the foregoing, by either first class mail, postage
prepaid, or, where permissible under the applicable Rules of this Court, by electronic means, upon the following:

Janet M. Nesse
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                                                         /S/ Jeffrey M. Sherman
                                                        Jeffrey M. Sherman




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